Case 6:22-cv-02217-PGB-LHP Documert1-3 Filed 11/30/22 Page 1 of 2 PagelD 13

Hello, Edith and David! We are
representing a homeowner in
your neighborhood on Arthur
Ct. With the sale of their home,
we have already been
contacted by a dozen buyers

interested in this property. We
now have multiple buyers that
are interested in living in your
neighborhood. Have you~
considered taking advantage
of this market and selling your
home?

Could we send you a free
home valuation so you would
know the current value of your
home in today's market?

PLAINTIFF’S

~Shaira with the Lane Team at pee

—— ee

Keller Williams Realty

 

SE ET Pa SS EE

De ES a a ae ee

ee ee

SaaS
Case 6:22-cv-02217-PGB-LHP Document 1-3 Filed 11/30/22 Page 2 of 2 PagelD 14
14:17 4 ot LTE (a)

<

 

+7 (321) 209-0655

Text Message
Today 13:49

- Hello, Edith and David! We are
representing a homeowner in
your neighborhood on Arthur
Ct. With the sale of their home,
we have already been
contacted by a dozen buyers
interested in this property. We
now have multiple buyers that
are interested in living in your
neighborhood. Have you
considered taking advantage
of this market and selling your
home? S

Could we send you a free
home valuation so you would
know the current value of your
home in today's market?

 

~Shaira with the Lane Team at
Keller Williams Realty

 

Absolutely! Can we have your

: PLAINTIFF’S
active email address please? ‘ EXHIBIT

=

—_—_——

 
